                         Case 1:11-cv-00804-VM-GWG Document 308 Filed 05/14/18 Page   1 of 1
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                                                                                                     Karl P. Barth
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                The Honorable Victor Marrero
                United States District Judge
                Southern District of New York                                                     1.ECTRONICALLY FILEP
                United States Courthouse
                500 Pearl Street, Suite 660
                New York, NY 10007
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                                Re:      In re Ch;na MediaExpress Holdings, Inc. Lifig., No. 11-cv-804 (VM)

                Dear Judge Marrero:

                        I was appointed as Receiver of China MediaExpress Holdings, Inc. ("CCME" or the
                "Company") by the Court on August 26, 2014. (ECF No. 230). Mr. Charles G. La Bella was
                appointed by the Court as Special Receiver to oversee the investigation and pursuit of claims
                against one specific party (ECF No. 298).

                        As the Court is aware, the claims overseen by Mr. La Bella have been resolved and his
                duties as Special Receiver have concluded. Accordingly, I am writing to request that Mr. La
                Bella be awarded his professional fees and reimbursement of expenses in the total amount of
                $57,585.94 from the assets of the Company that are currently in my possession. In support of
                this request, I am attaching the Declaration of Charles G. La Bella, which describes Mr. La
                Bella's duties and provides detailed records of the time he spent on this project. Because of the
                confidentiality of the specific responsibilities of Mr. La Bella pursuant to the Court's February
                13, 2018 Order (Dkt. # 306), I respectfully request that confidential treatment be accorded
                Mr. La Bella's Declaration.

                        I have reviewed Mr. La Bella's Declaration and exhibit thereto, and am generally familiar
                with his role and duties as Special Receiver. I believe that his requested fees and expenses are
                reasonable and request authorization from the Court to pay Mr. La Bella in the amount of
                $57,585.94 from the Receivership account.

                                                                                 Sincerely,




                                                                                 Karl P. Barth
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    DATE


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